
THE defendant, who was a magistrate of the county of Bath, was presented by the grand jury, and then prosecuted by information in the superior court of law, foj misbehaviour in office. The charge against him was, 'hat at a court of quarter sessions duly held for the county *309of Bath, See., the defendant who then was, and still is, a justice of the peace in and for the said county, duly commissioned and sworn as such, did take his seat on the bench of the said court, and act. in the capacity oí a justice of the peace aforesaid, and member of said court, while and when he was in a state of intoxication, and inebriation, from the drinking of spirituous liquors, insomuch that he at the time &amp;e., and during all the time of his sitting and acting, as aforesaid, was incompetent to discharge the duties of his office with propriety , decorum, and discretion; and disqualified from the free exercise of his understanding in the matters and things, at the time and place, &amp;c. legally and judicially brought before him
He was found guilty by the jury, and the superior court adjourned to the general court, the question arising from the verdict, whether judgment of amotion from his office of, justice of the peace, should be rendered against, him.
H November 11th, 1812, present judges White, Carring ton, Brockenbrough, Semple, and Allen, it was declared to be the unanimous opinion of the court, “ that judgment w of amotion from the office of justice of the peace ought “ to be rendered against the said Moses Mann.”
